Case: 2:13-cv-00953-MHW-CMV Doc #: 369 Filed: 05/20/16 Page: 1 of 17 PAGEID #: 8931

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF OHIO
EASTERN DIVISION

Libertarian Party of Ohio, e¢ ai.,

Plaintiffs, Case No. 2:13-—cv—953

V. Judge Michael H. Watson
Jon A. Husted,
Ohio Secretary of State,

Defendant.

OPINION AND ORDER

The Libertarian Party of Ohio (“LPO”) and several of its members,
leadership, and/or candidates (“Plaintiffs”) move for summary judgment as to
Count Seven of their third amended complaint, ECF No. 188. Mot., ECF No.
338. Ohio Secretary of State Jon A. Husted (“Secretary Husted”) and Gregory A.
Felsoci (“Felsoci”) cross-move for summary judgment. ECF Nos. 344 & 345.
The motions are ripe for review. Plaintiffs move to supplement the record. ECF
No. 335. As that motion is unopposed,' the Court GRANTS Plaintiffs’ motion to
supplement the record. ECF No. 335. For the following reasons, the Court
DENIES Plaintiffs’ motion, ECF No. 338, and GRANTS Secretary Husted’s and

Felsoci’s motions, ECF Nos. 344 and 345.

’ Felsoci “objects” to supplemental exhibits five, six, eight, nine, ten, and twelve. Mot.
18, ECF No. 346. Felsoci’s objections to exhibits eight and nine are moot because
Plaintiffs submitted those exhibits in support of motions that the Court has since ruled
on. Felsoci objects to the admissibility of exhibits five, six, ten, and twelve on relevancy
grounds. The Court considers those arguments in this Opinion and Order.
Case: 2:13-cv-00953-MHW-CMV Doc #: 369 Filed: 05/20/16 Page: 2 of 17 PAGEID #: 8932

I. FACTS

In 2014, LPO’s candidates attempted but failed to obtain ballot recognition.
Subsequently, LPO amended its complaint in this case to include, inter alia,
Count Seven, arguing that Secretary Husted and Felsoci violated the First
Amendment and the Equal Protection Clause of the Fourteenth Amendment of
the United States Constitution when Secretary Husted selectively enforced Ohio
Revised Code § 3501 .38(E){1}—which requires petition circulators to disclose
their employer, resulting in the LPO candidates’ removal from the 2014 primary
ballot. Since that date, the Court twice reviewed this claim and twice found it
unlikely to succeed. See Oct. 17, 2014 Order, ECF No. 260 & Mar. 19, 2014
Order, ECF No. 80.

The parties have incorporated by reference their previous briefing as to
Count Seven, see Ps’ Mot. 1, ECF No. 338; Sec. Husted’s Mot. 16, ECF No. 344,
and further claim that they have uncovered new evidence in support of their
position. Their evidence consists primarily of the depositions of Matt Borges
(‘Borges’), chair of the Ohio Republican Party (“ORP”), Terry Casey (“Casey”), a
political strategist who orchestrated Felsoci’s protest and is the current
chairperson of the State of Ohio Personnel Board of Review, and Felsoci.2 See
ECF Nos. 335-2, 335-4, & 335-11. In addition, Plaintiffs submit evidence

regarding the ORP’s payment of $300,000 to Zeiger, Tigges, Little & Lindsmith,

? Felsoci also testified at the hearing held on September 29 and 30, 2014. His
deposition testimony mirrors that of his testimony at the preliminary hearing, and neither
that testimony nor his deposition substantiate Plaintiffs’ claim.

Case No. 13—-cv-953 Page 2 of 17
Case: 2:13-cv-00953-MHW-CMV Doc #: 369 Filed: 05/20/16 Page: 3 of 17 PAGEID #: 8933

LLP, (“the Zeiger law firm’) in late 2014, early 2015, for its work representing
Felsoci at the protest hearing and for other work it completed in the litigation of
the instant suit. See Borges Dep. PAGEID ## 8603-05, 8610-12, 8630, ECF
No. 335-11; Ps’ Ex. 3, PAGEID #4 8496-501, ECF No. 335-3 (Zeiger law firm
invoices and checks cut by the ORP).

Plaintiffs also submit, as “new evidence” the following additional e-mails
and text message communications:

Between February 14 and February 21, 2014, Casey: (1) e-mailed
members of Governor John Kasich’s reelection campaign and the then political
director of the ORP, David Luketic (“Luketic”), concluding with: “Plus, what is
next!l” Ps’ Ex. 3 PAGEID # 8438, ECF No. 335-3; (2) e-mailed members of
Governor Kasich’s campaign and Luketic with information regarding an initial
assessment of what a protest of Plaintiffs’ part-petitions would entail, id. at 8439—
40, 8442 (stating “[c]learly we need to keep digging and digging on Oscar
[Hachett]’ (one of Plaintiffs’ petition circulators)); (3) responded to an e-mail from
Governor Kasich’s political director with the Governor’s reelection campaign,
Jeffery Polesovsky (“Polesovsky”), in which Polesovsky stated that “we can
continue to work down the action item list” and indicated that he was forwarding
“petition samples to our attorneys to help their research process,” id. at 8441;
(4) sent an e-mail to Polesovsky and Luketic seeking morning updates, id. at
8443; (5) received an e-mail from Luketic in which Luketic forwarded the result of

a records request from Public Records/Corporations Counsel, Chris Shea of

Case No. 13—cv-953 Page 3 of 17
Case: 2:13-cv-00953-MHW-CMV Doc #: 369 Filed: 05/20/16 Page: 4 of 17 PAGEID #: 8934

Secretary Husted’s office, id. at 8444-45; (6) sent an e-mail to a leader of a “right
for life” group and blind copied thirteen individuals, including members of
Governor Kasich’s gubernatorial office and his reelection campaign as well as
Luketic with poling results about registered voters, id. at 8447—48 (commenting,
“The Dems will be spinning big on the failure for this poll to account for the
number of voters a Libertarian candidate will drain off.”); (7) e-mailed Polesovsky
and carbon copied Luketic stating, “Did push [TV Host Matt] Stainbrook earlier
this morning for getting us a Libertarian potential client[,]’ id. at 8449; (8) received
e-mails from Luketic with an “Early Validity Report and “Lib. Petition Report”
detailing the number of signatures collected by paid circulators, id. at 8450,
8460-70; (9) received an e-mail from Luketic with the subject line “Our Friends”
of a forwarded e-mail from an attorney in Summit County that contained criminal
history reports of LPO petition circulators, id. at 8451; (10) received an e-mail
from Luketic with Felsoci’s voting history, jd. at 8459; (11) received an e-mail
from Polesovsky with contact information for Chris Klym, id. at 8471; Casey Dep.
PAGEID # 8374, ECF No. 335-2 (stating that Chris Klym helped with the
“logistics”); and (12) emailed his attorney Chris Kylm’s e-mail address, Ps’ Ex. 3
PAGEID # 8472, ECF No. 335-3.

On February 26, 2014, Luketic texted Casey asking, “Would it help our
case if one of the circulators signed [sic] a Democrat petitions this year.” /d. at

8473. That same day, Luketic e-mailed Casey an ORP member’s phone number

Case No. 13-cv—953 Page 4 of 17
Case: 2:13-cv-00953-MHW-CMV Doc #: 369 Filed: 05/20/16 Page: 5 of 17 PAGEID #: 8935

who was going to help “on some logistics.” /d. at 8474; Casey Dep. PAGEID
# 8377, ECF No. 335-2.

Between February 28 and March 1, 2014, Casey sent an e-mail to Jim
Heath, host of the Ohio News Network, regarding the protest hearing. Ps’ Ex. 3
PAGEID # 8475, ECF No. 335-3. Casey also exchanged e-mails with Daniel
Mead of the Zeiger law firm and Polesovsky, whom Casey stated typically e-
mailed him upon request “whatever he happened to have around,” jd. at 8476—
78; Casey Dep. PAGEID # 8382, ECF No. 335-2.

On the day of the protest hearing, March 4, 2014, Casey sent several e-
mails about the hearing and also addressed Borges’ comments regarding ORP’s
involvement with the protest. Ps’ Ex. 3 PAGEID ## 8479-86, ECF No. 335-3;
see also Ps’ Ex. 10 PAGEID # 8586, ECF No. 335-10. Casey e-mailed Chris
Schrimpf (“Schrimpf’), the ORP communication director, about Borges’
comments, to which Schrimpf responded: “The Dems are just pushing the
misspeaking part. ORP has not had involvement in the complaint to this point.
Let's talk more once the hearing is over.” Ps’ Ex. 10 PAGEID # 8584, ECF No.
335-10. Shortly after Borges apparently made a statement that insinuated that
the ORP filed the protest, Borges then back-tracked and said that the ORP did
not file the protest.

On March 7, 2014, Casey exchanged several e-mails about the results of
the protest. See Ps’ Ex. 3 PAGEID ## 8487-95, ECF No. 335-3. Between

March 10, 2014 and May 6, 2014, Casey sent over twenty e-mails to a significant

Case No. 13-cv—953 Page 5 of 17
Case: 2:13-cv-00953-MHW-CMV Doc #: 369 Filed: 05/20/16 Page: 6 of 17 PAGEID #: 8936

number of individuals, including Luketic, Polesovsky, Matthew Damschroder
(“Damschroder’), currently, the Deputy Assistant Secretary of State and Director
of Elections for Secretary Husted, and Borges, with updates regarding the
litigation pending before this Court and related appeals. See, e.g., Ps’ Ex. 12,
PAGEID # 8670, ECF No. 335-12 (blind copying over fifty people a news article
from the Columbus Dispatch on May 1, 2014). On March 17, 2014, Borges sent
an e-mail in response to Casey’s “latest” regarding Plaintiffs’ third amended
complaint and Borges’ potential testimony at the Court’s hearing. /d. at 8640-41.
In addition, on both March 16 and 19, 2014, Borges forwarded to Casey an e-
mail from his attorney about the on-going litigation. /d. at 8647 (this e-mail was
also sent to members of Governor Kasich’s campaign and Luketic), 8685.

Based on this new evidence, Plaintiffs claim Secretary Husted and Feisoci
violated their First and Fourteenth Amendment rights. Plaintiffs, Secretary
Husted, and Felsoci move for summary judgment on those claims.

ll. © STANDARD OF REVIEW

The standard governing summary judgment is set forth in Federal Rule of
Civil Procedure 56(a), which provides: “The court shall grant summary judgment
if the movant shows that there is no genuine dispute as to any material fact and
the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a).
The Court must grant summary judgment if the opposing party fails to make a
showing sufficient to establish the existence of an element essential to that

party’s case and on which that party will bear the burden of proof at trial. Celotex

Case No. 13-cv—953 Page 6 of 17
Case: 2:13-cv-00953-MHW-CMV Doc #: 369 Filed: 05/20/16 Page: 7 of 17 PAGEID #: 8937

Corp. v. Catrett, 477 U.S. 317, 322 (1986); see also Van Gorder v. Grand Trunk
Western R.R., Inc., 509 F.3d 265 (6th Cir. 2007).

When reviewing a summary judgment motion, the Court must draw all
reasonable inferences in favor of the nonmoving party, who must set forth
specific facts showing there is a genuine issue of material fact for trial, and the
Court must refrain from making credibility determinations or weighing the
evidence. Pittman v. Cuyahoga Cnty. Dept. of Children and Family Serv., 640
F.3d 716, 723 (6th Cir. 2011). Summary judgment will not lie if the dispute about
a material fact is genuine, “that is, if the evidence is such that a reasonable jury
could return a verdict for the nonmoving party.” Anderson v. Liberty Lobby, Inc.,
477 U.S. 242, 248 (1986); Barrett v. Whirlpool Corp., 556 F.3d 502, 511 (6th Cir.
2009).

Thus, the central issue is “whether the evidence presents a sufficient
disagreement to require submission to a jury or whether it is so one-sided that
one party must prevail as a matter of law.” Pittman, 640 F.3d at 723 (quoting
Anderson, 477 U.S. at 251-52).

lll. ANALYSIS
A. Previous Court Rulings

The Court has already addressed Plaintiffs’ as-applied challenge to Ohio
Revised Code § 3501.38(E})(1) twice. In one decision ruling on Plaintiffs’ motion
for a preliminary injunction as to Count Seven, the Court found that Plaintiffs’

contention that the payor disclosure requirement chilled their First Amendment

Case No. 13-cv-953 Page 7 of 17
Case: 2:13-cv-00953-MHW-CMV Doc #: 369 Filed: 05/20/16 Page: 8 of 17 PAGEID #: 8938

freedoms lacked merit. See Mar. 19, 2014 Order 22-24, ECF No. 80. The Court
addressed Plaintiffs’ contention that Secretary Husted selectively enforced Ohio
Revised Code § 3501 .38(E)(1) when Plaintiffs moved for preliminary relief a
second time. In an October 17, 2014 Order, the Court determined that given the
deposition testimony of Secretary Husted, Plaintiffs failed to carry their burden of
showing that Secretary Husted’s decision was influenced by political animus or
controlled by Casey, members of Governor Kasich’s campaign, or any other
source of improper political animus. Oct. 17, 2014 Order 16, ECF No. 260.
Plaintiffs do not submit any new evidence or argument that contradicts these
preliminary findings. Therefore, Plaintiffs’ selective enforcement claim based on
Secretary Husted’s decision fails against both Secretary Husted and Felsoci and
the Court grants Secretary Husted’s and Felsoci’s motion for summary judgment
on this ground.

In addition, in its October 17, 2014 Order, the Court addressed Plaintiffs’
selective enforcement claim based on the filing of the protest and determined
that the filing of the protest did not constitute a state action under § 1983
because it was filed by a private party. /d. at 21-22. As such, the Court found
that Plaintiffs were unlikely to succeed on the merits of their selective
enforcement claim because Felsoci’s protest, even if it was filed on behalf of the
ORP, did not constitute a state action because the protest process is for use by

private citizens and is not a public function exclusively reserved to the state. /d.

Case No. 13-cv—953 Page 8 of 17
Case: 2:13-cv-00953-MHW-CMV Doc #: 369 Filed: 05/20/16 Page: 9 of 17 PAGEID #: 8939

Plaintiffs now move for summary judgment, arguing that they have uncovered
new evidence that the protest was part of a conspiracy.

B. Selective Enforcement

Plaintiffs bring their selective enforcement claim pursuant to § 1983, under

which “a plaintiff must establish that a person acting under color of state law
deprived the plaintiff of a right secured by the Constitution or laws of the United
States.” Wilkerson v. Warner, 545 F. App’x 413, 419 (6th Cir. 2013) (quoting
Waters v. City of Morristown, 242 F.3d 353, 358-59 (6th Cir. 2001)). To
successfully plead a selective enforcement claim, Plaintiffs must satisfy the
following three elements:

First, [a state actor] must single out a person [or persons] belonging
to an identifiable group, such as those of a particular race or religion,
or a group exercising constitutional rights, for prosecution even
though he has decided not to prosecute persons not belonging to
that group in similar situations. Second, he must initiate the
prosecution with a discriminatory purpose. Finally, the prosecution
must have a discriminatory effect on the group which the defendant
belongs to.

Stemler v. City of Florence, 126 F.3d 856, 873 (6th Cir. 1997) (citing United
States v. Anderson, 923 F.2d 450, 453 (6th Cir.1991)).

Plaintiffs’ theory is that Casey, Felsoci, Damschroder, members of
Governor Kasich’s gubernatorial office and reelection campaign, and members of
the ORP collectively conspired to violate Plaintiffs’ First Amendment rights
because Felsoci filed the protest of Plaintiffs’ part-petitions. Accordingly, the

Court construes Plaintiffs’ argument to be that, since Plaintiffs’ alleged “new”

Case No. 13-cv-953 Page 9 of 17
Case: 2:13-cv-00953-MHW-CMV Doc #: 369 Filed: 05/20/16 Page: 10 of 17 PAGEID #: 8940

evidence demonstrates that there was a conspiracy between a private actor
Felsoci, previously described by the Court as a hapless dupe for his utter lack of
knowledge, intent, or conspiratorial objective, and state officials for purposes of
§ 1983.

A private party who conspires with state officials can be liable under
§ 1983. See Jackim v. Sam’s East, Inc., 378 F. App’x 556, 565 (6th Cir. 2010).

A civil conspiracy is an agreement between two or more persons to
injure another by unlawful action. Express agreement among all the
conspirators is not necessary to find the existence of a civil
conspiracy. Each conspirator need not have known all of the details
of the illegal plan or all of the participants involved. All that must be
shown is that there was a single plan, that the alleged coconspirator
shared in the general conspiratorial objective, and that an overt act
was committed in furtherance of the conspiracy that caused injury to
the complainant.

Hooks v. Hooks, 771 F.2d 935, 943-44 (6th Cir. 1985).

On October 17, 2014, the Court preliminarily determined that Plaintiffs’
claim of conspiracy to selectively enforce § 3501.38(E)(1) lacked merit. Since
that date, the Court has allowed Plaintiffs every opportunity to obtain whatever
evidence may be available to substantiate their claim. After reviewing that
evidence and Plaintiffs’ argument, the Court finds that Plaintiffs still fail to
demonstrate that there was any unlawful action cognizable under § 1983.

As an initial matter, Plaintiffs have previously averred ORP involvement
and now argue that the “new’ evidence shows that the ORP “ratified” the filing of

the protest. This argument is without merit as the Court has already determined

Case No. 13—cv—953 Page 10 of 17
Case: 2:13-cv-00953-MHW-CMV Doc #: 369 Filed: 05/20/16 Page: 11 of 17 PAGEID #: 8941

that even if the protest was on behalf of the ORP, it did not constitute a state
action under § 1983. See Oct. 17, 2014 Order 22, ECF No. 260.
a. Casey

Plaintiffs aver that Felsoci and the ORP conspired with Casey and that
Casey is a state actor. Plaintiffs submit e-mails sent between Casey, Borges,
and Schrimpf that show Casey worked with individuals active in county branches
of the ORP. While these messages show Casey's proclivity to involve himself in
Republican politics, the messages do not provide any support for Plaintiffs’ claim
of civil conspiracy between a private actor and a state actor.

Plaintiffs argue that Casey—a state actor—acted under color of state law
when he orchestrated the protest because he is the chairperson of the State of
Ohio Personnel Board of Review. However, Casey’s government position does
not make all of his actions “under color of state law.” Memphis, Tennessee Area
Local, Am. Postal Workers Union, AFL-CIO v. City of Memphis, 361 F.3d 898,
903 (6th Cir. 2004) (“It is the nature of the act performed, not the clothing of the
actor or even the status of being on-duty, or off-duty, which determines whether
the officer acted under color of law.” (citation omitted)). “[A] public employee acts
under color of state law while acting in his official capacity or while exercising his
responsibilities pursuant to state law.” West v. Atkins, 487 U.S. 42, 50 (1988).
Plaintiffs do not submit any evidence that indicates that Casey was acting in his
official capacity, that Casey used his role as chairperson to facilitate his actions,

or that Casey’s position relates to any of the acts Plaintiffs cite. See id. (“[Alcting

Case No. 13-cv—953 Page 11 of 17
Case: 2:13-cv-00953-MHW-CMV Doc #: 369 Filed: 05/20/16 Page: 12 of 17 PAGEID #: 8942

under color of state law requires that a defendant in a § 1983 action have
exercised the power ‘possessed by virtue of state law and made possible only
because the wrongdoer is clothed by the authority of state law.” West, 487 U.S.
at 48). In sum, Casey’s actions to facilitate the protest were those of a private
citizen and do not in any way constitute actions committed under color of state
law.

b. Matt Damschroder—Secretary Husted’s Director of Elections

Plaintiffs allege that Casey sought and obtained the assistance of
Damschroder and claim that because of the e-mails sent by Casey on March 4,
2014, see Ps’ Ex. 3 PAGEID ## 8479, 8482-83, ECF No. 335-3, “it is finally clear
that Damschroder was fully aware by March 4, 2014 of exactly what was going
on. He knew all were involved and that Borges’s comment was considered to be
a problem.” Ps’ Resp. 7, ECF No. 347.

In response, Secretary Husted argues that Plaintiffs fail to establish any
joint action between Casey and Damschroder because the “‘new’ evidence’ that
Plaintiffs rely upon consisted of “a few additional emails . . . that are of the same
nature” as the evidence previously submitted to the Court. Sec. Husted’s Mot.
14, ECF No. 344. Secretary Husted argues that the e-mails were “already in the
public domain and were sent to many recipients” and that “[mJany were sent after
the Secretary ruled on the protest.” /d. (emphasis omitted).

Plaintiffs rely upon two e-mails. The first is an e-mail sent by Casey at 1:02

PM on March 4, 2014, which was the day of the protest hearing. Casey blind

Case No. 13—cv—953 Page 12 of 17
Case: 2:13-cv-00953-MHW-CMV Doc #: 369 Filed: 05/20/16 Page: 13 of 17 PAGEID #: 8943

copied Damschroder, Polesovsky, and Luketic on that e-mail, which was a
forwarded message from Schrimpf about Borges’ comment disclaiming the
ORP’s involvement. The second is an e-mail Casey forwarded to the same
people containing an article from the Plain Dealer regarding the protest at 1:06
PM, also on March 4, 2014.

First, being blind copied on e-mails hardly equates to involvement ina
conspiracy. See Fisk v. Letterman, 401 F. Supp. 2d 362, 377 (E.D.N.Y. 2010)
(‘Communications between a private and state actor, without more facts
supporting a concerted effort or plan between the parties, are insufficient to make
a private party a state actor.”).

Second, Plaintiffs do not provide any evidence as to how these e-mails
indicate that there was a plan or that Damschroder had committed, planned to
commit, or asked someone else to commit an act to further that plan. If anything,
the contents of the first e-mail would dispel any thoughts of the Plaintiffs’ alleged
“Borges Tie-in.” Ps’ Resp. 7, ECF No. 347. The Court is equally unconvinced
that the e-mail sent four minutes later containing the Plain Dealer article does
anything more than inform Damschroder about what he already knew.

Accordingly, the Court determines that these communications fail to show
the existence of a civil conspiracy for purposes of § 1983.

c. Governor Kasich
Plaintiffs argue that there was a “connection” between Governor Kasich and

the protest because the Zeiger law firm’s representation of Felsoci was arranged

Case No. 13-cv—953 Page 13 of 17
Case: 2:13-cv-00953-MHW-CMV Doc #: 369 Filed: 05/20/16 Page: 14 of 17 PAGEID #: 8944

by Governor Kasich’s campaign. According to Plaintiff, since “[t]he Kasich
Campaign, after afl, knew ORP would pay,” Ps’ Mot. 2, ECF No. 338-1, Governor
Kasich was involved in a conspiracy with Casey.

While Plaintiffs cite many communications between Casey and others, their
assertion that Governor Kasich was somehow involved in the protest remains
unsupported. The “new” communications indicate little more than what the Court
has already found: Casey orchestrated the protests, coordinated legal
representation with the same law firm that employs Casey’s personal attorney,
found a LPO member who would have legal standing to protest the part-petitions,
and e-mailed a lot of people in the process. See, e.g., Ps’ Ex. 3, PAGEID
## 8439-40, 8442 (e-mails detailing the steps needed to protest the petitions);
8477-78 (e-mail in which Casey seeks information to provide Daniel Mead,
attorney at the Zeiger law firm); 8471-72, 8474 (emails sent to Casey for
purposes of contacting someone to reach out to potential protestors); 8459
(Casey received an e-mail with Felsoci’s voting history), ECF No. 335-3. See
also Casey Dep. PAGEID # 8395, ECF No. 335-2 (Casey stated, “I send out lots
and lots of e-mails to lots and lots of people.”). None of these communications
provide any support for Plaintiffs’ proposition that Governor Kasich had
knowledge of a plan or made any action in furtherance of that plan. While the
messages may have been sent to a few of Governor Kasich’s gubernatorial office
staff members, the messages have little, if any, significance without evidence of

a plan or any actions taken by these individuals.

Case No. 13-cv—-953 Page 14 of 17
Case: 2:13-cv-00953-MHW-CMV Doc #: 369 Filed: 05/20/16 Page: 15 of 17 PAGEID #: 8945

Plaintiffs argue that Governor Kasich’s reelection campaign staff supported
the protest and by way of their actions, Governor Kasich did so too. As support,
they cite to e-mails that use words such as “we” and “our.” See Ps’ Mot. 3—4,
ECF No. 338-1 (citing Ps’ Ex. 3 PAGEID ## 8441, 8447, 8502, ECF No. 335-3).
In all but a few of the instances, Casey authored the e-mail that used the words
cited by Plaintiff. The only other remarks were by Polesovsky, a member of
Governor Kasich’s reelection campaign. Polesovsky’s e-mails do not
demonstrate joint action between Casey and Governor Kasich merely because a
member of Governor Kasich’s campaign staff sent messages to Casey.

Moreover, to the extent that a member of Governor Kasich’s campaign
staff was involved in the protest in his or her capacity as a staff member, that
staff member is a private citizen working for a candidate, not for a state actor.
See Federer v. Gepharat, 363 F.3d 754, 759 (8th Cir. 2004) (finding that member
of the incumbent's staff “acted on behalf of [the incumbent] as a political
candidate and a private person.”). Therefore, any act committed by a member of
the campaign stafi—a private citizen—cannot qualify as under color of state law
without the involvement of a state actor. To be clear, Plaintiffs fail to show any
evidence that Governor Kasich had any knowledge of his campaign staff
members’ actions. Further, Plaintiffs fail to show how these private citizens’
actions constitute state actions.

In sum, the Court finds that Plaintiffs failed to show a civil conspiracy and

that Plaintiffs therefore fail to demonstrate how the filing of the protest constitutes

Case No. 13-—cv-953 Page 15 of 17
Case: 2:13-cv-00953-MHW-CMV Doc #: 369 Filed: 05/20/16 Page: 16 of 17 PAGEID #: 8946

a state action under § 1983. In other words, Plaintiffs fail to identify any facts that
are suggestive enough to back its allegations of a civil conspiracy, let alone able
to withstand Secretary Husted’s and Felsoci’s motions for summary judgment.
See Nader v. McAuliffe, 593 F.Supp.2d 95, 103 (D.D.C. 2009) aff'd 2009 WL
4250615 (D.C. Cir. Oct. 30, 2009).

Because there is no conspiracy between Secretary Husted and Felsoci or
any other state actor and Felsoci, Plaintiffs’ selective enforcement claim against
Felsoci and Secretary Husted fails and Secretary Husted and Felsoci are entitled
to summary judgment on this ground.

Additionally, the Court reiterates that there is no evidence of selective
enforcement here—i.e. there is no direct evidence of discriminatory intent or
political animus on behalf of a state actor as part of any conspiracy or on the part
of Secretary Husted. Furthermore, Secretary Husted and Felsoci point out two
examples of when part-petitioners were successfully protested due to failure to
completely or correctly fill out the employer box such that those part petitions
were also found invalid, see Sept. 29, 2014 Pl Hearing Tr., PAGEID # 6605, ECF
No. 247, Sec. Husted’s Hearing Ex. E (Kristen Rine, elections counsel for
Secretary Husted’s office, determining part-petitions violated the employer
disclosure requirement in 2011 because the part-petitions omitted the
employer’s name and address); /n re Protest of Evans, Nos. O6AP—539 through
O6AP-—548, 2006-Ohio-4690, 2006 WL 2590613, at *3—4 (Ohio Ct. App. 10th

Dist. Sept. 11, 2006) (finding that the petition circulators did not correctly identify

Case No. 13-cv—-953 Page 16 of 17
Case: 2:13-cv-00953-MHW-CMV Doc #: 369 Filed: 05/20/16 Page: 17 of 17 PAGEID #: 8947

their employer between the two entities known to be involved in collecting
signatures).

Accordingly, Secretary Husted and Felsoci are entitled to summary
judgment on Count Seven of Plaintiffs’ third amended complaint.

IV. CONCLUSION

The Court GRANTS Plaintiffs’ motion to supplement the record. ECF No.
335. The Court GRANTS Secretary Husted’s motion for summary judgment,
ECF No. 344, and Felsoci’s motion for summary judgment, ECF No. 345, and
DENIES Plaintiffs’ motion for summary judgment, ECF No. 338.

The Clerk shall enter final judgment in this case.

Accordingly, given Plaintiffs’ appeal has been dismissed and a mandate
has been issued, the Court DENIES AS MOOT Plaintiffs’ motion to modify, ECF
No. 339, and motion seeking a stay pending an appeal, ECF No. 352.

The Court notes that it has previously denied all motions for attorneys’ fees
and costs without prejudice to refiling after entry of final judgment in this case
and that any refiled motion is referred to the Lf Judge.

IT 1S SO ORDERED.

CHAEL H. Lb Witon JUDGE
UNITED STATES DISTRICT COURT

Case No. 13-cv—953 Page 17 of 17
